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                            UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MASSACHUSETTS
                                    EASTERN DIVISION

                                              :
In re:                                        :
                                              :
LEGACY GLOBAL SPORTS, L.P.,                   :       CHAPTER 7
                                              :       CASE NO. 20-11157-JEB
                 Debtor.                      :
                                              :
                                              :

                     NOTICE OF CONSENT TO ORDER FOR RELIEF

         Legacy Global Sports, L.P. (the “Debtor”), hereby consents to the Court’s entry of an

order for relief under Chapter 7 of the Bankruptcy Code.

         As detailed in its Motion for Abstention Pursuant to Bankruptcy Code § 305(a)(1) filed

on June 12, 2020 [Docket No. 24] (the “Abstention Motion”), the Debtor was at the time

engaged in negotiations with two prospective buyers for some of its assets. Unfortunately,

during the week after filing the Abstention Motion, negotiations reached a point where it became

clear that neither of the offers that had been developed would either (a) permit completion of the

sale outside bankruptcy yielding net proceeds for the Debtors to distribute to creditors, or (b) in

the context of chapter 11, provide sufficient financing and total consideration to assure that the

chapter 11 case would be funded and the sale process yield net proceeds for the bankruptcy

estate exceeding administrative expenses.         After evaluating its options the Debtor’s board

determined that consenting to the involuntary petition would be in the best interests of the

Debtor’s bankruptcy estate.     A copy of the resolution authorizing the Debtor’s consent is

attached hereto as Exhibit A.

         In order to facilitate an orderly disposition of the assets of the entire corporate group

consisting of the Debtor and 26 direct and indirect domestic subsidiaries (the “Subsidiaries”) and



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to optimize a chapter 7 trustee’s potential to sell some or all of the assets as a continuous

business unit or to a single buyer, the boards of the Debtor and the Subsidiaries determined that it

was in the best interests of each of the Subsidiaries to file a voluntary chapter 7 petition for

relief. Attached hereto as Exhibit B is a list of the Subsidiaries, which are filing voluntary

chapter 7 petitions contemporaneously herewith.

                                              Respectfully submitted,

                                              LEGACY GLOBAL SPORTS, L.P.,

                                              By its attorneys,

                                              /s/ Daniel C. Cohn
                                              Daniel C. Cohn, Esq., BBO #090780
                                              Jonathan M. Horne, Esq., BBO #673098
                                              Murtha Cullina LLP
                                              99 High Street
                                              Boston, MA 02110
                                              (617) 457-4000 Telephone
                                              (617) 482-3868 Facsimile
                                              dcohn@murthalaw.com
Dated: June 22, 2020                          jhorne@murthalaw.com




                                CERTIFICATE OF SERVICE

       I hereby certify that on June 22, 2020, I filed this document through the Court’s ECF
system, which will send an electronic copy to the registered participants as identified on the
Notice of Electronic Filing (NEF)
       .
                                           /s/ Daniel C. Cohn
                                           Daniel C. Cohn (BBO #090780)




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                                   Exhibit A




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           UNANIMOUS WRITTEN CONSENT OF THE BOARD OF MANAGERS

               WHEREAS, the undersigned, being all the managers (collectively, the
 “Managers”) of the board of managers (the “Managing Board”) of Legacy Global Sports, L.P., a
 Delaware limited partnership (the “Partnership”), hereby take the following actions and adopt
 the following resolutions by written consent in lieu of a meeting pursuant to the Delaware
 Revised Uniform Limited Partnership Act, and Section 5.8(c) of the Fourth Amended and
 Restated Limited Partnership Agreement of the Partnership, dated January 1, 2020 (the “Limited
 Partnership Agreement”):

                WHEREAS, the COVID-19 global pandemic and resulting governmental orders
 prohibiting individuals from gathering in large groups have forced the Partnership to cancel or
 postpone nearly all of its live sports events, and have created tremendous uncertainty about when
 regular business may resume;

                  WHEREAS, the forced cancellations have caused a catastrophic decline in the
 Partnership’s revenue stream, forcing it to terminate or furlough employees and creating a severe
 liquidity crisis;

                WHEREAS, prior to the COVID-19 outbreak certain former employees engaged
 in conduct resulting in an ongoing criminal investigation by the Department of Justice into
 alleged illegal visa activities that has contributed to the vulnerability of the Partnership’s
 businesses;

               WHERAS, on or about May 12, 2020, Stout Risius Ross Advisors, LLC began to
 market the assets of the Partnership and its subsidiaries to seek potential buyers that would
 maximize the value of the Enterprise;

                WHEREAS, the Managers have reviewed and considered the financial and
 operational condition of the Partnership, and the Partnership’s business on the date hereof,
 including the historical performance of the Partnership, the assets of the Partnership, the current
 and long-term liabilities of the Partnership, the market for the Partnership’s services, and credit
 market conditions; and

                 WHEREAS, the Managers have received, reviewed and considered separate
 letters of intent submitted by Generation Capital and 200 X 85 for the purchase (primarily on
 non-cash terms) of the Partnership’s Hockey & Tours businesses (the “Potential Hockey
 Dispositions”), and have considered potentially available dispositions of the Partnership’s and its
 subsidiaries’;

                WHEREAS, on May 20, 2020, creditors of the Partnership filed in the United
 States Bankruptcy Court for the District of Massachusetts (the “Bankruptcy Court”) an
 involuntary petition under chapter 7 of the Bankruptcy Code (the “Petition”), and the Partnership
 responded by filing on June 12, 2020, a motion requesting the Court to abstain from considering
 the Petition until the Partnership had the opportunity to complete negotiations concerning
 Potential Hockey Dispositions;
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                 WHEREAS, the Managers have completed negotiations concerning the Potential
 Hockey Dispositions, including receipt of letters of intent representing the final positions of the
 respective offerors, have explored the availability of financing in order to fund a chapter 11 sale
 process, and have received, reviewed and considered the recommendations of the senior
 management of the Partnership and the Partnership’s legal, financial and other advisors as to the
 risks, benefits and feasibility of various strategic alternatives including, but not limited to, a
 bankruptcy proceeding under the provisions of chapters 7 and 11 of the Bankruptcy Code;

                 NOW, THEREFORE, BE IT RESOLVED that, after due deliberation, in the
 judgment of the Managers, it is desirable and in the best interests of the Partnership, its creditors,
 partners and other interested parties, that the Partnership consent to the Petition and cause each
 of its subsidiaries to file its own petition under chapter 7; and it is further

                RESOLVED, that the Partnership shall be, and hereby is, directed and authorized
 to execute and file on behalf of the Partnership all petitions, schedules, lists, votes, consents and
 other papers or documents, and to take any and all action which the Partnership deems
 reasonable, advisable, expedient, convenient, necessary or proper to obtain relief under chapter 7
 of the Bankruptcy Code for itself and its subsidiaries; and it is further

                 RESOLVED, that Philip Silveira (the “Designated Person”) be, and hereby is,
 authorized, directed and empowered, on behalf of and in the name of the Partnership, to execute,
 verify and file or cause to be filed all petitions, schedules, lists, votes, consents and other papers
 or documents necessary or desirable in connection with the foregoing; and it is further

                RESOLVED, that all of the acts and transactions relating to matters contemplated
 by the foregoing resolutions, which acts would have been approved by the foregoing resolutions
 except that such actions were taken prior to the execution of these resolutions, are hereby in all
 respects confirmed, approved and ratified.


                                      {Signature Page Follows}
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               IN WITNESS WHEREOF, the undersigned, being all the Managers of the
 Managing Board of the Partnership, have executed this consent, in accordance with the
 Delaware Revised Uniform Limited Partnership Act and Section 5.8(c) of the Limited
 Partnership Agreement, as of the _____
                                    21 day of June, 2020.




                                              ____________________________
                                              John Brecker


                                              ____________________________
                                              David M. Wittels


                                              ____________________________
                                              Richard Dresdale



                                              ____________________________
                                              Michael Somma
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                                     Exhibit B

1. LGS Management, LLC
2. LGS Manufacturing LLC
3. Legacy Global Lacrosse LLC
4. LGS Logistics LLC
5. LGS Team Sales LLC
6. Premier Sports Events LLC
7. Massachusetts Premier Soccer LLC
8. Maine Premier Soccer LLC
9. Mass Premier Soccer in New Hampshire LLC
10. Florida Premier Soccer LLC
11. New York Premier Soccer LLC
12. Jersey Premier Soccer LLC
13. GPS in Vermont LLC
14. Rhode Island Premier Soccer LLC
15. Carolina Premier Soccer LLC
16. Georgia Premier Soccer LLC
17. Global Premier Soccer Puerto Rico LLC
18. Global Premier Soccer Canada LLC
19. Global Premier Soccer Oregon LLC
20. Global Premier Soccer California LLC
21. Global Premier Soccer Missouri, LLC
22. Global Premier Soccer Connecticut LLC
23. Global Premier Soccer Delaware LLC
24. Global Premier Soccer Michigan LLC
25. Global Premier Soccer Minnesota LLC
26. Global Premier Soccer Ohio LLC




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